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          EXHIBIT 5
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                                                                                                US0091 1903OB2


(12) United States Patent                                                    (10) Patent No.:                   US 9,119,030 B2
       Perez Lafuente                                                        (45) Date of Patent:                        *Aug. 25, 2015

(54) METHOD AND SYSTEM FORMONITORING                                      (52) U.S. Cl.
       A MOBILE STATION PRESENCE INA                                              CPC ................ H04 W4/02 (2013.01); H04 W4/021
       SPECIAL AREA                                                                            (2013.01); H04 W24/00 (2013.01); H04W
                                                                                    64/00 (2013.01); H04W 28/18 (2013.01); H04W
(71) Applicant: AFIRMA CONSULTING &                                                         48/08 (2013.01); H04W 48/16 (2013.01)
                TECHNOLOGIES, S.L., Madrid (ES)                           (58) Field of Classification Search
                                                                                  USPC ........... 455/4.56.4, 555, 408,432.2, 406, 458,
(72) Inventor: Carlos A. Perez Lafuente, Madrid (ES)                                                          455/414.1, 446, 456.1, 433
                                                                                  See application file for complete search history.
(73) Assignee: AFIRMA CONSULTING &                                        (56)                    References Cited
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(*) Notice:       Subject to any disclaimer, the term of this
                  patent is extended or adjusted under 35                        5,642.303 A         6/1997 Small et al.
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                  claimer.                                                                FOREIGN PATENT DOCUMENTS
(21) Appl. No.: 14/561,426                                                WO              WO-0103372 A1         1/2001
                                                                                             OTHER PUBLICATIONS
(22) Filed:       Dec. 5, 2014
                                                                          International Search Report issued in PCT/EP2007/052939 dated
(65)                 Prior Publication Data                               Jun. 21, 2007.
       US 2015/OO87337 A1           Mar. 26, 2015                         Primary Examiner — Jinsong Hu
                                                                          Assistant Examiner — Jean Chang
                                                                          (74) Attorney, Agent, or Firm — Venable LLP; Jeffri A.
            Related U.S. Application Data                                 Kaminski
(63) Continuation of application No. 14/315.703, filed on                 (57)                 ABSTRACT
     Jun. 26, 2014, now Pat. No. 8,934,922, which is a                    Method for monitoring the presence of a mobile station in at
       continuation of application No. 14/205,517, filed on               least one special area, wherein a radio communication defin
       Apr. 11, 2014, which is a continuation of application              ing device transmits one radio distinctive defining signal that
       No. 12/294,641, filed as application No.                           define the special area by its coverage, the mobile station
       PCT/EP2007/052939 on Mar. 27, 2007, now Pat. No.                   processes a signal received in order to determine whether or
       8,738,040.                                                         not it is defining signal and more precisly a distinctive one that
                                                                          defines the special area, the mobile station sends an updating
(30)           Foreign Application Priority Data                          signal to a mobile telephone network, the network routes the
                                                                          updating signal to special operating means that adapt the
  Mar. 28, 2006     (EP) ..................................... O6111804   value of an operating parameter. According to the invention,
                                                                          the special area is associated to the mobile station by trans
(51) Int. Cl.                                                             mitting to the mobile station a checking data used by the
     H04/24/00                 (2009.01)                                  mobile station for determining whether or not the defining
     H0474/02                  (2009.01)                                  signal received is distinctive defining signal.
                         (Continued)                                                       11 Claims, 7 Drawing Sheets

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                                                                                              1               and maintain Cd in a MS
                              Start CD
                              management              402



                              Definition of            404                   Planning SA                A30              Modify a SA     Frits
                              a new SA                                       deactivation                                       ---.      450



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                              Yes         A4                                    Yes "--0                                  Yes ---.480

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                                        Receiving
                                       distinctive
                                     defining SIGP




                               (re)send presence UPD SIG
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                                                       US 9,119,030 B2
                                1.                                                                    2
     METHOD AND SYSTEM FORMONITORING                                     However, this last technical solution does not allow the
       A MOBILE STATION PRESENCE IN A                                  mobile network, to add for a mobile station one or more
               SPECIAL AREA                                            special areas wherein the presence of a mobile station is
                                                                       monitored without having to at least modify one or more
            CROSS-REFERENCE TO RELATED                                 guide units broadcasting in Such areas. It lacks therefore of
                   APPLICATIONS                                        flexibility.
   This application is a continuation of U.S. application Ser.                    DISCLOSURE OF THE INVENTION
 No. 14/315,703, filed Jun. 26, 2014 which is a continuation
 U.S. application Ser. No. 14/250,517, filed Apr. 11, 2014 10 An object of the invention is therefore to provide a method
 which is a continuation of U.S. National Phase application for monitoring the presence of a mobile station in at least one
 Ser. No. 12/294,641, filed Apr. 12, 2010 which claims priority special area, said method providing the flexibility to the
 to International Application No. PCT/EP2007/052939 filed mobile telephone network of associating new special areas
 Mar. 27, 2007 which claims benefit of the European Patent 15 for this mobile station in a secure way without modifying any
 Application No. 06111804.8 filed Mar. 28, 2006 each of radio transmitting device.
 which is hereby incorporated herein by reference in their               This object is achieved in accordance with claim 1 by
 entireties.                                                          providing a method for monitoring the presence of a mobile
                                                                      station in at least one special area associated to the mobile
                      BACKGROUND ART                                  station, the method comprising the following steps:
                                                                         a. at least one radio communication defining device trans
    This invention relates to a method for monitoring a mobile              mits repeatedly in at least a channel one radio distinctive
 station presence in a special area. This invention relates also            defining signal that defines the special area by its cover
 to a mobile system, a server, a radio transmitting device, and             age
 a mobile station Suitable for carrying out such a method.         25    b. the mobile station observes the channel and process any
    Development of short range wireless communication solu                  signal received in order to determine whether or not it is
 tions based on the use of Bluetooth, DECT and WIFI within                  receiving any defining signal,
 a small area Such as homes is strong competition for mobile             c. the mobile station processes any defining signal received
 operators owning wide mobile networks. A mobile telephone                  in order to determine whether or not the defining signal
 network (called also mobile network) includes a large number 30            received is a distinctive defining signal that defines the
 of base stations and all the data processing means required to             special area,
 provide the telecommunication service to each mobile station            d. the mobile station sends an updating signal to a mobile
 serviced by said mobile network.                                           telephone network about its presence in the special area,
    These short range wireless communication solutions can               e. the mobile telephone network routes the updating signal
 provide direct connection to fixed networks whose operators 35             to special operating means that adapt the value of at least
 offer cheaper rates than those offered by mobile networks. It              one operating parameter depending on the presence of
 can therefore be of interest for mobile network operators to               the mobile station in the special area, the said method is
 offer different rates depending on the instantaneous location              characterized in that the special area is associated to the
 of a mobile station connected to its mobile network, in par                mobile station by transmitting to the mobile station a
 ticular in areas; called special areas, where it could face 40             checking data, this checking data being used by the
 strong competition from Some short range wireless commu                    mobile station for determining whether or not the defin
 nication solutions.                                                        ing signal received is a distinctive defining signal that
    The published patent application n'US20020094.801                       defines, alone or with other distinctive defining signals,
 describes a technical Solution: a fixed station sends an                   the special area associated to the mobile station and the
 encoded first signal and the coverage of said first signal 45              same checking data being sent to any mobile station
 defines a special area. The fixed station and a mobile station             whose presence in this special area is monitored.
 using the special area are linked one another via the signal            Advantageously from the operator's point of view, the
 code. But this document does not disclose anything about the invention brings the flexibility needed to activate a special
 content of said coded signal. In order to realize protection way of operating a mobile station in a special area by trans
 against the abuse of the system, in an embodiment, this docu 50 mitting a checking data that will be stored in a mobile station
 ment proposes to provide the fixed station with receiving and database without having to modify, by way of introducing any
 comparison means for an access code that is to be applied to new data (notably the identity code of said mobile station), at
 the fixed station via the mobile station in order to put the fixed least one radio communication defining device likein the
 station into operation.                                              aforementioned international patent application WO
    The international application WO 00/27152 offers another 55 00/27152. Therefore, a radio communication defining device
 Solution for locating a mobile station based on the use of a is not required to store all the mobile stations identity codes
 guide unit that broadcasts a short range radio signal which using the special area defined by at least the coverage of its
 defines a home area. This document discloses that the short          defining signal(s).
 range radio signal contains the identity code of said mobile            According to the present invention, a special area associ
 station that has to identify its own identity code in order to 60 ated to a mobile station can be defined by one or more defin
 notice to a mobile Switching centre that it is located in its ing signals. Therefore the checking data may preferably con
 home area. This mobile station transmits then a home mes             tain information included in every defining signals defining
 sage to the mobile network, this home message being possi completely a special area (each one defines it partially) and
 bly used notably for defining the price/service connected to the mobile station try to find any of this information in any
 telephone calls. In this last, technical Solution, the guide unit 65 defining signal received with comparison means. The mobile
 has to know the identity of the mobile station and this last station may receive defining signals that do not define any
 Solution is thought to be used for a home special area.              special area for it. In the case where the special area is defined
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                                                       US 9,119,030 B2
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 by two or more defining signals, this special area may be the tification codes contained into the mobile station database
 intersection of all or part of them or the global coverage of the and therefore advantageously controls the location of the
 defining signals.                                                 special area.
    In addition, a method according to the invention is spe           In an embodiment of this invention, the special operating
 cially suitable to be used in environments like for example means store a parameters database linking the special area to
 airports, company’s premises or business centres where the the mobile station and to a set of at least the operating param
 number of different mobile stations to be serviced by the eter, and the special operating means adapt the value of at
 mobile telephone network would be high. With the solution of least an operational parameter of this set when they receive an
 the aforementioned international patent application WO updating signal signalling that the mobile station exits or
 00/27152, it would be necessary to store and transmit in and 10 enters the special area. Thanks to this embodiment of the
 from a single radio communication defining device all the invention, the processing of these operating parameters is
 mobile station identity codes of the potential mobile stations centralized in the special operating means and it is not done in
 using a special area defined in Such environment, operation each base station. In case the mobile station will be switch off,
 which would difficult or even impossible considering that the the mobile network operator will decide whether or not the
 radio spectrum is a limited resource. Therefore, the applica 15 values of the operating parameters associated to the presence
 tion WO 00/27152 has a narrower geographical scope of of the mobile station into special operating areas remain
 usability. It is also not required, thanks to the invention, to unchanged or are disabled into the database containing the set
 send any activation code to activate a radio communication of operating parameters as consequence of the Switching off
 defining device and it is not required to store all the mobile process.
 stations activation codes in the radio communication defining        In a particular embodiment, the operating parameter is a
 device, as in one embodiment of the published patent appli tariff or a service flag that enables or disables a special tariff
 cation n2US20020094.801. Therefore, it is easier with this        or a service for the mobile station. Advantageously, the opera
 present invention to realize protection against abuse of the tor's services offer can therefore being dependent on the
 system.                                                              location of the mobile station.
    The special operating means may be at least partly 25 In a particular embodiment, the updating signal includes a
 included in the data processing means of the mobile tele request to access to a service or to a multimedia content and
 phone network. All of them or part of them may be own or the mobile telephone network routes this request to a part of
 operate by an external provider of the mobile telephone net the special operating means that allow or forbid the provision
 work.                                                              of this service or multimedia content depending on whether
    In a particular embodiment, the special area is deactivated 30 or not the mobile station is into the special area. This part of
 for the mobile station by the mobile telephone network send the special operating means may be operated by the mobile
 ing a deactivation signal to the mobile station to stop the telephone network operator or by a different provider.
 mobile station from recognizing a defining signal that defines        In a particular embodiment, the transmission of the check
 that special area as a distinctive one.                            ing data to the mobile station is done via the mobile telephone
    In a particular embodiment, the special operating means 35 network or via a signal of at least one radio device or via a
 acknowledge the reception of the updating signal and trans person introducing the checking data in the mobile station.
 mit an acknowledgement signal to the mobile station. In this         According to the present invention, there is further pro
 embodiment, the mobile station knows advantageously if the vided a mobile system for monitoring the presence of a
 mobile telephone network received the updating signal or not. mobile station in a special area defined for this mobile station,
    In a particular embodiment, at least one radio communica 40 said system comprising:
 tion defining device is a wireless device whose radio defining       checking means for detecting the presence of the mobile
 signal that defines the special area is distinctive wireless             station in the special area associated to this mobile sta
 signal transmitted by the wireless device in a frequency range           tion, said checking means including
 outside the frequency range allocated for the mobile tele            At least one radio communication defining device trans
 phone network. Preferably, the said distinctive wireless signal 45       mitting repeatedly in at least a channel a radio distinctive
 contains wireless device identification data and reliable infor          defining signal that defines the special area,
 mation confirming that the wireless device is effectively            in the mobile station, observing means for observing the
 located into a predetermined environment. The operator of                channel and processing means for processing any signal
 the mobile telephone network advantageously avoids fraud                 received in the channel in order to determine whether or
 linked to a possible shifting of the wireless device. The check 50       not the signal received is a defining signal and, if the
 ing data associated to this wireless device includes this wire           signal received is a defining signal, whether or not the
 less device identification data.                                         signal received is a distinctive defining signal that
    In another particular embodiment, at least one radio com              defines the special area,
 munication defining device is a base station whose radio             transmission means for sending an updating signal regard
 distinctive defining signal that defines the special area is a 55        ing the presence of the mobile station in the special area
 distinctive signal comprising a special mobile telephone net             from the processing means to special operating means
 work identification code, the checking data associated to this           included at least partly in data processing means of the
 base station includes this special mobile telephone network              mobile telephone network,
 identification code.                                                 the special operating means for adapting the value of at
    In another particular embodiment, at least one radio com 60           least one operating parameter depending on the presence
 munication defining device is a base station whose radio                 of the mobile station in the special area, characterized in
 distinctive defining signal that defines the special area is a           that the said mobile system comprises storing means for
 distinctive base station identity signal comprising an identi            storing a checking data in the mobile station, the pro
 fication code of the base station, the checking data associated          cessing means include means for using this checking
 to this base station includes this base station identification 65        data for determining whether or not the defining signal
 code. The mobile telephone network operator controls and                 received is a distinctive defining signal that defines,
 knows the location of all the base stations broadcasting iden            alone or with other distinctive defining signals, the spe
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      cial area and the same checking data is sent to any                FIG. 1, FIG. 2 and FIG. 3 are three schematic figures
      mobile station whose presence in this special area is            describing three particular embodiments of mobile systems
      monitored.                                                       according to the invention.
    In a particular embodiment of the invention, the mobile              FIG. 1 is a schematic diagram illustrating an embodiment
 system comprises special area location monitoring means for 5 of the invention wherein:
 monitoring the correct location of at least a part of the special        any base station 107 or 105 of a mobile telephone network
 area. It is then harder to fraud by moving the radio commu                  of an operator is a radio communication defining device
 nication defining device. In a particular embodiment of the                 transmitting a radio defining signal in a channel used by
 invention, the mobile system carries out a method according 10 thethe           mobile telephone network,
                                                                              distinctive radio defining signal that defines the special
 to the present invention.                                                   area is a distinctive signal transmitted by Some selected
    This invention also concerns a server. According to the                  base stations 105, said distinctive signal comprising a
 invention, this server is characterized in that it contains at              special mobile telephone network identification code.
 least some of the special operating means included in the                   The  sum of the coverage of these selected base stations
 mobile system according to the present invention. This server 15            105 defines a special area (the shaded area of FIG. 1).
 may contain the whole or part of the special operating means.            the checking data includes this special mobile telephone
 In this last case, the special operating means may be spread in             network identification code.
 several servers or computers.                                            More precisely, FIG. 1 shows a geographical area 102
    According to the present invention, there is further pro covered by the mobile telephone network. The radio coverage
 vided a radio communication defining device, characterized of the mobile telephone network in this geographical area 102
 in that it carries out a method according to the present inven is the addition of the radio coverage 104 and 106 of several
 tion. In a particular embodiment, the said radio communica base stations 105 and 107. The mobile telephone network
 tion defining device of the invention is a wireless device and includes data-processing means that comprise a server
 it contains means for transmitting the distinctive wireless according to the invention including special operating means
 signal that defines the special area and means for obtaining 25 according to the invention.
 reliable information indicating whether or not the said wire             Each base station is transmitting network data, including a
 less device is located into a predetermined environment.              mobile telephone network identification code, which allows a
    This invention also concerns a mobile station, character           mobile station 100 in the geographical area 102 to select the
 ized in that this mobile station is suitable to carry out a method 30 appropriate
                                                                          The
                                                                                     mobile telephone network.
                                                                               operator  of the mobile telephone network defines one
 according to the present invention. This mobile station may
                                                                       special  mobile
 be a mobile telephone or a Personal Digital Assistant for IC2, (in another embodiment, telephone   network identification code, called
 example.                                                                                                the operator may create more
                                                                       than one special mobile telephone network identification
         BRIEF DESCRIPTION OF THE DRAWINGS                             code) different from a normal mobile telephone network
                                                                    35 identification code, called IC1. Then the operator configures

    In the following detailed description of some possible its             mobile telephone network in Such a way that some base
 embodiments, other features and advantages of the invention defining107
                                                                       stations      (in general the majority of them) transmit a radio
                                                                                 signal comprising the normal mobile telephone net
 will appear, each description being made with reference to the work identification code and the selected base stations 105 (in
 following drawings:                                                40 general a minority of them) transmit a distinctive defining
    FIG. 1 is a schematic diagram illustrating an embodiment signal comprising a special mobile telephone network iden
 of a mobile system according to the invention;                        tification code.
    FIG. 2 is a schematic diagram illustrating another embodi             The checking data (i.e. IC2) is stored into an internal
 ment of a mobile system according to the invention;                   mobile station database included in mobile station 100 stor
    FIG. 3 is a schematic diagram illustrating another embodi 45 ing means, this mobile station 100 being associated to this
 ment of a mobile system according to the invention;                   special area. The same checking data is sent to any mobile
    FIG. 4 is a flow chart illustrating partly an embodiment of station whose presence in this special area is monitored.
 a method according to the invention;                                     The mobile station 100 contains observing means and pro
    FIG.5 is a flow chart illustrating another part of an embodi cessing means for determining that the distinctive defining
 ment of a method according to the invention;                       50 signal transmitted by any base station 105 is received. These
    FIG. 6 is a schematic diagram of a part of an operating processing means include means for using the checking data
 parameters database in an embodiment of the invention;                that include, in this embodiment, comparing means: Thanks
    FIG. 7 is a schematic diagram of a part of another operating to these comparing means, the mobile telephone network
 parameters database in an embodiment of the invention.                identification codes received by the mobile station are com
                                                                    55 pared to IC2 stored into the internal mobile station database:
                   DETAILED DESCRIPTION                                If the mobile station is in a position like the position (a) in
                                                                       FIG. 1, i.e. inside the special area, the mobile telephone
    A mobile station serviced by the mobile telephone net network identification code received is equal to IC2 and
 work. The mobile telephone network may be cellular or not. therefore the mobile station 100 determines that it is into the
    In this description and in the claims, it is Supposed, in the 60 special area. Otherwise, if the mobile station 100 is in position
 case that the mobile telephone network is cellular, that each like the position (b) in FIG. 1, i.e. outside the special area, the
 base station of the cellular mobile telephone network is asso mobile station 100 receives a defining signal containing 101
 ciated to a unique cell. Therefore, Some base stations of the different from IC2 and determines that it is not receiving any
 cellular mobile network can be located in the same location           distinctive defining signal and therefore that it is not into the
 and share technical means. For example, a tower may incor 65 special area.
 porate three sets of antennas, each set being part of a different        For example, if the mobile station 100 is a GSM mobile
 base station of the same mobile network.                              station operating into a GSM mobile telephone network, the
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 mobile station 100 has the capability to store the received            RBU identification data is comprised into the RBU signal,
 mobile telephone networks identification codes into a mobile           the wireless device receives, through the RBU signal from
 station 100 memory. In that case, the mobile station 100 may the RBU, the RBU identification data that are included into a
 access to Such internal memory to get data to determine,            RBU identification database of the wireless device.
 together with the checking data (i.e. IC2), whether or not it is       The storage of the RBU identification data into the wireless
 receiving any distinctive defining signal.                          device RBU identification data database may be done at the
    With the exception of the processes concerning the inven Wireless device configuration stage. In the particular example
 tion, a special mobile telephone network identification code of FIG. 2 and the wireless device 212, the RBU is a base
 (IC2) is equivalent, from the perspective of both the mobile station 205 of the mobile telephone network, the RBU iden
 station and the mobile telephone network, to a normal mobile 10 tification data is a base station identification code. The wire
 telephone network identification code (IC1). In this context, less device 212 is authenticated into the mobile telephone
 processes such as network selection, selection/reselection of network comprising the base station 205 and may receive the
 base stations and handover will not be influenced because           base station signal 220 when it is located within the range of
 Some base stations transmit IC1 and some other transmit IC2,        coverage 204 of the base station 205.
 Such lack of influence meaning that all the mobile station and 15 In a second example of embodiment of the special area
 the mobile telephone network processes (except the pro location monitoring means, the reliable information com
 cesses concerning the invention) will be handle as if IC1 and prised into the wireless signal confirms that the wireless
 IC2 would be the same code.                                         device is effectively located into a predetermined geographi
    For example, a mobile telephone network operator can use cal environment defined by the operator of the mobile tele
 this embodiment of the invention to offer one set of normal         phone network when it is physically connected to any fixed
 billing rates in an urban environment of a country, and network connection points defined by the operator of the
 another set of special billing rates for a rural environment. mobile telephone network for the special area and it is also
 Another example of the application of this embodiment of the authenticated into the said fixed network through any of the
 invention is for a mobile telephone network operator to offer mentioned fixed network connection points. In this embodi
 normal billing rates for the whole country except in industrial 25 ment, the wireless device also comprises means for commu
 areas or business districts.                                        nicating with the fixed network. Inaparticular example of this
    FIG. 2 is a schematic diagram illustrating an example of embodiment, some parameters are stored into the wireless
 another embodiment of a mobile system according to the device during its configuration stage and Such parameters are
 invention wherein the radio communication defining device used by the wireless device to perform the said authentication
 is a wireless device (212 or 212b), e.g. a WIFI, Bluetooth or 30 process into the fixed network.
 DECT device, the radio distinctive defining signal that                These connection points may be PSTN (Public Switching
 defines the special area is a distinctive wireless signal 214 or Telephony Network) connectors for ADSL network services
 214b (e.g. a WIFI, Bluetooth or DECT signal) transmitted by or electrical sockets for PLC (Power Line Communication)
 the wireless device (212 or 212b) in a frequency range outside home network services for example: In the particular example
 the frequency range allocated for the mobile telephone net 35 of FIG. 2 and the wireless device 212b, the wireless device
 work. A mobile station 200 whose presence in the special area 212b has to be connected to a connection point 230 of a fixed
 is monitored includes observing means and processing means          network and authenticated in this fixed network so that the
 for determining whether or not any defining signal is received reliable information comprised into the wireless signal 214b
 in the frequency range used by the wireless device.                 confirms that the wireless device is effectively located into a
    Each distinctive wireless signal contains wireless device 40 predetermined geographical environment.
 identification data and reliable information confirming that its       In the third example of an embodiment of the special area
 transmitting wireless device (212 or 212b in FIG. 2) is effec location monitoring means (not illustrated in FIG. 2), the
 tively located into a predetermined environment. The check reliable information comprised into the wireless signal con
 ing data comprises a set of at least one wireless device iden firms that the wireless device is effectively located into a
 tification data.                                                 45 predetermined physical environment defined by the operator
    The predetermined environment may be one or more spe of the mobile telephone network when:
 cific geographical locations (for example several fixed points         the wireless device is physically connected to a system
 into a restaurant) or a physical environment that can be mobile registered and authorised by the mobile telephone network
 (for example a car, a plane or a boat). The predetermined operator for the purposes of the invention and
 environment is defined by the operator of the mobile tele 50 the wireless device is authenticated into the mentioned
 phone network.                                                      system.
    The distinctive wireless signals are preferably coded and           In a particular example of this embodiment some param
 the mobile station 15 processing means include decoding eters are stored into the wireless device during its configura
 means to decode the wireless signals received.                      tion stage and Such parameters are used by the wireless device
    The mobile system comprises special area location moni 55 to perform the referred authentication process into the sys
 toring means for monitoring the correct location of any wire tem. This system may be, in an example, embedded in a
 less device that may transmit a distinctive wireless signal into mobile device Such as a car or a boat.
 this predetermined environment and therefore for monitoring            More precisely, FIG. 2 shows a geographical area 202
 at least a part of the special area.                                covered by a mobile telephone network of an operator, the
    In a particular embodiment of the special area location 60 radio coverage of the mobile telephone network in this geo
 monitoring means, the reliable information comprised into graphical area 202 being the addition of the radio coverage of
 the wireless signal confirms that the wireless device is effec several base stations 205 and 207. The mobile telephone
 tively located into a predetermined geographical environment network includes a server according to the invention compris
 defined by the operator of the mobile telephone network ing special operating means. In this embodiment, a wireless
 when:                                                            65 device 212 is located in a geographical environment agreed
    the wireless device able to receive a RBU signal from at between the operator and the user, such as for example near to
 least one radio broadcasting unit (RBU)                             the user's house or near his/her work place. The wireless
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 device 212b is located either into a geographical environ              FIG.3 shows a geographical area 302 covered by a mobile
 ment, such as for example the user's home, or into a physical telephone network of an operator, the radio coverage of the
 environment, which may be mobile. Such as for example the mobile telephone network in this geographical area 302 being
 user's car, Such environments being agreed between the the addition of the radio coverage 304 and 306 of several base
 operator and the user.                                              stations 305 and 307. The mobile telephone network includes
    The checking data associated to a special area is stored into a server according to the invention comprising special oper
 an internal mobile station database included in a memory ating means.
 (storing means) of a mobile station 200 associated to this             Any mobile station 300 whose presence in the special area
 special area.                                                       is monitored includes observing means and processing means
    Processing means comprised in the mobile station 200 10 for observing and processing the base station identity signal
 compare any wireless device identification data received with of the mobile telephone network base stations 305 and 307.
 the checking data stored in its internal mobile station database       The checking data is stored into an internal mobile station
 and determines that a wireless signal received is adistinctive database included in a memory (storing means) of a mobile
 wireless signal when:                                               station 300 associated to this special area.
    Such wireless signal is coded in a format predefined for a 15 Processing means of the mobile station 300 process the
 distinctive wireless signal and                                     base stations identity signals received and compare their base
    the wireless device identification data comprised into the station identification codes to the checking data and deter
 wireless signal is equal to at least one of the wireless device mine that at least one distinctive base station identification
 identification data stored into the internal mobile station data    code signal is received (i.e. the mobile station 300 is in posi
 base and                                                            tion (a)) when any of the base station identification codes
    the reliable information comprised into the wireless signal received is equal to at least one of the base 17 station identi
 confirms that the wireless device is effectively located into a fication codes stored into the internal mobile station database
 predetermined environment.                                          and otherwise determine that it is not receiving any distinctive
    Otherwise the mobile station 200 determines that the wire        base station identification code signal (i.e. the mobile station
 less signal received is not a distinctive wireless signal.       25 300 is in position (b)).
    In the embodiment illustrated by the FIG. 2, the sum of the         For example, when a GSM mobile station is operating into
 coverage (203.203b) of the wireless devices 212 and 2.12b a GSM mobile telephone network, the GSM mobile station
 transmitting distinctive wireless signals 214 and 214b defines 300 receives the identification code of the active base station
 a special area for the mobile station 200 according to the and also the identification codes of some available neighbours
 invention.                                                       30 base stations. The GSM mobile station 300 may consequently
    Transmission means for sending an updating signal regard process the base station identification codes received to deter
 ing the presence of the mobile station 200 in the special area mine, together with the checking data, whether or not it is
 (203, 203b) from the processing means to the special operat receiving any distinctive base station identification code sig
 ing means are partly comprised in the mobile station 200 and nal.
 in the mobile telephone network. The updating signal may 35 The sum of the coverages 304 of the base stations 305
 comprise the result of the last determination performed by the transmitting distinctive base station identification code sig
 mobile station about its presence into the special area. In nals defines a special area for the mobile station 300 accord
 another embodiment, the reliable information related to             ing to the invention.
 whether or not the wireless device 212 or 212b is or not               In this embodiment, an operator of a mobile telephone
 effectively located into its predetermined environment is also 40 network covering a geographical area 302 may offer special
 included into the updating signal.                                  services to the user of a mobile station 300 if he uses his/her
    In this embodiment, an operator of a mobile telephone mobile station 300 within the range of coverage of the base
 network covering a geographical area 202 may offer cheaper Stations 305.
 rates, called special billing rates, to the user of a mobile           As an example a mobile telephone network operator can
 station 200 if he uses his/her mobile station 200 within the 45 use this embodiment of the invention to offer one set of
 range of coverage 203 of the wireless device 212 (position (a) normal billing rates in an urban environment of a country, and
 of the mobile station 200) or within the range of coverage another set of special billing rates for a rural environment.
 203b of the wireless device 212b (position (b) of the mobile Another example of the application of this embodiment of the
 station 200).                                                  invention is for a mobile telephone network operator to offer
    As an example, a mobile telephone network operator can 50 normal billing rates for the whole country except in industrial
 use this embodiment of the invention to offer one set of            areas or Small towns.
 special billing rates in premises associated to the user of the         Any combination of the embodiments of a mobile system
 mobile station 200 as may be houses, cars or boats, and according to the invention described herein is another
 another set of normal billing rates for the rest of the environ embodiment here below of a mobile system according to the
 ments where the user may use the mobile station 200. Another 55 invention. That combination can be the result from N dif
 example of the application of this embodiment of the inven ferent distinctive defining signals, each one comprising a
 tion is for a mobile telephone network operator to offer nor different special mobile telephone network identification
 mal billing rates for the whole country except in industrial code or a different wireless device identification data or a
 areas, airports or restaurants.                                      different base station identification code.
    FIG. 3 is a schematic diagram illustrating an example of 60 For example, the mobile telephone network operator can
 another embodiment of a mobile system according to the then propose N different sets of rates for N different kinds
 invention wherein the radio communication defining device of special areas for a given mobile station. In an example, an
 is a base station, the radio defining signal that defines the operator installs in the user's house a wireless device whose
 special area is a distinctive base station identity signal com position is controlled by being or not in the range of coverage
 prising an identification code that identifies this base station, 65 of a particular base station of the mobile network, another
 the checking data includes a set of at least one base station wireless device whose-position is controlled by its connec
 identification code.                                                 tion to a fix network in the user's holiday cottage and a third
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 wireless device whose position is controlled by its connection        special area (and also depending on whether Such tariffs
 to a system embedded in the user's car. The operator creates          and/or services are enabled or disabled into the parameters
 a special mobile telephone network identification code trans          database for such mobile station).
 mitted by the all the base stations of the user's city. Then the         The operating parameter(s) that may be adapted depending
 operator stores in the storing means of the user's mobile             on the presence of the mobile station in one or more special
 station the three wireless devices identification data, the           areas at the same time may be notably related to activation or
 user's city special mobile telephone network identification deactivation flags of tariffs and/or services provided to the
 code and several sets of base stations identification codes,          mobile station by the mobile telephone network. Therefore,
 each set being the set of identification of base stations cover tariffs may be more or less expensive for the said mobile
 ing public places like airports and train stations. Then, the 10 station in predetermined special areas and/or the mobile sta
 operator can adapt the tariffs charged and the services pro tion may be able or unable to use predetermined services
 vided to the user depending notably whether his/her mobile offered by the operator of the mobile telephone network in
 station is in its city or outside, in its house, holiday cottage or predetermined special areas.
 car and/or in public places.                                             In step 408, the special operating means send a checking
    An embodiment of a method for monitoring the presence 15 data to the mobile 15 station.
 of a mobile station in at least one special area according to the        The checking data transmission can notably be done:
 invention may include at least three parts:                              1) by sending the checking data stored in a server of the
    a first part, illustrated in FIG. 4, that includes the steps mobile telephone network to the mobile station through the
 needed to Successfully transmit, store, erase and maintain mobile telephone network transmission channels. In a par
 checking data in a mobile station according to the invention, ticular example, the mobile telephone network is a GSM
    a second part, illustrated in FIG. 5, that includes the steps network and the checking data from the server will be sent to
 needed for the mobile station to monitor its location in the          the mobile station via encrypted short messages using an
 special areas using the checking data that were transmitted to         Over the Air platform. The mobile station is able to decode
 it and                                                                the short messages and to store the checking data into an
    a third part, illustrated in FIGS. 6 and 7, that includes the 25 internal mobile station database,
 adaptation of the operational parameters depending on the                2) through the use of a mobile station special software able
 presence of the mobile station in any special area where this to store into an internal mobile station database checking data
 mobile station is monitoring its presence.                            obtained by the mobile station from at least one radio com
    This embodiment of such method according to the inven munication defining device. In a particular example, it may be
 tion may be carried out for example using any of the embodi 30 necessary that an operator's representative introduces a pass
 ments of mobile systems according to the invention described word to allow the mobile station special software to operate.
 before.                                                               The mobile station special software may ask the operator's
    FIG. 4 is a flowchart of the first part 400 of a method representative to validate the storage of the checking data
 according to one embodiment of the invention for Success through the mobile telephone keyboard,
 fully transmit, store, erase and maintain checking data in a 35 3) or via a person (e.g. an operator's representative) who
 mobile station according to the invention.                            enters the checking data into the mobile station using the
    A mobile telephone network comprises in this embodiment mobile station keyboard.
 data processing means that includes special operating means;             Regarding the second option, two examples are provided.
 the special operating means are included in a server and In a first example, the mobile station is operating in a GSM
 therefore are advantageously centralised and not distributed 40 network, the mobile station obtains from the active cell its cell
 between each base station of the mobile telephone network.            identification code and from other neighbouring cells, if
    An operator of a mobile telephone network (i.e. the com available, their cell identification codes. When the special
 pany that operates this mobile telephone network) wishes to software is run for example in the user's home, it is able to
 propose special billing rates and/or special services to users obtain such cells identification codes and store them in the
 of its mobile telephone network, each user carrying a mobile 45 internal mobile station database of checking data, associating
 station, when said users are within special areas of the inven them with the user's home special area.
 tion.                                                                    In a second example, the mobile station can obtain, by
    The part 400 of this embodiment starts in step 402 when the using a WIFI device embedded into the mobile station, neigh
 operator wishes to monitor the presence of a mobile station in bouring WIFI devices identification data. When the special
 a special area.                                                    50 software is run for example in the user's home, it is able to
    In step 404, the operator defines a new special area if the obtain such WIFI device identification data and store them in
 operator wishes to create a new one. The special areas may be the internal mobile station database of checking data, associ
 agreed between the operator and the user or simply defined by ating them with the user's home special area.
 the operator.                                                            Once the checking data has been Successfully stored into
    The definition of the special area can be done by the cov 55 the internal mobile station database, a confirmation of new
 erage of one or several radio defining signals or by the inter checking data is sent to the parameters database. In addition,
 section of the coverage of two or more radio defining signals. notably regarding to the second and third options to transmit
    In step 406, the operator updates a parameters database checking data to the mobile station, the stored checking data
 included in the special operating means. The parameters data may be sent by the mobile station to the parameters database
 base associates each special area defined with the mobile 60 through the mobile telephone network for the mobile tele
 stations whose presence in Such special area is monitored. For phone network to know this checking data.
 the purposes of Such association, each mobile station is iden            In step 410, the special operating means wait for the con
 tified into the parameters database by means of a mobile firmation of new checking data from the mobile station. Once
 station identifier. In the parameters database, each mobile the information is received, it is stored into the parameters
 station identifier is associated with special tariffs and/or ser 65 database and the special operating means transmit an
 vices which may be or not available for the mobile station acknowledgment to the mobile station. In case the mobile
 depending on the presence of such mobile station into a given station does not receive the acknowledgment after a certain
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 time, the mobile station sends the confirmation of new check       lowing the steps 450 to 460 to adapt the internal mobile
 ing data again until it receives the acknowledgment or until it station database to the operators wishes. In step 450, the
 resents the information up to a maximum number of times.           operator chooses to modify a special area for a given mobile
    It is advantageous to store the checking data into the mobile station, with or without the agreement of the mobile station
 station, mainly in comparison to the prior art where it was user, and defines such modified special area. For example,
 necessary to store mobile station identity codes and/or acti this can be done by including in the checking data associated
 Vation signals into a fix unit.                                    to one special area, Some additional checking data for the
    If the confirmation of new checking data is not received special area being not only the coverage of one distinctive
 (possibility 412) by the special operating means, the special defining signal but the intersection (or the Sum) of the cover
 operating means transmit again the checking data to the 10 age of the former one and the coverage of a new one. This can
 mobile station (step 408).                                         be done too by erasing in a set of checking data associated to
    When the confirmation of new checking data from the one special area, some checking data in order to, for example,
 mobile station is received (possibility 414) by the special transform a special area defined as the intersection (or the
 operating means, the special operating means know in step Sum) of the coverage of two distinctive defining signals into a
 416 that the mobile station updated its internal mobile station 15 special area defined as the coverage of one only distinctive
 database and the internal mobile station database is in accor      defining signal.
 dance with the operator wishes.                                       In case the operator wishes to add a new checking data (the
    After the first special area checking data or set of checking steps for erasing one can be easily inferred by analogy), in
 data is stored in the internal mobile station database, the        step 452, the operator updates the parameters database in
 operator can add more in the same way.                             order to include, if known, the new checking data associated
    In another hand, in this embodiment of a method according to the mobile station and the modified special area.
 to the invention, the operator can deactivate a special area          In step 454, the special operating means send, by using any
 following the steps 430 to 440.                                    of the three options for transmitting checking data described
    In step 430, the operator chooses to deactivate a special in step 408, the new checking data to the mobile station using
 area for a mobile station, with or without the agreement of the 25 the mobile telephone network.
 mobile station user. In step 432, the operator deactivates into       Once the new checking data has been successfully stored
 the parameters database all the special tariffs and/or services into the part of the internal mobile station database that con
 associated to the presence of the mobile station into the spe tains the checking data linked to the special area that has to be
 cial area. In step 434, the special operating means transmit a modified, a confirmation of modification of checking data is
 deactivation signal to the mobile station (using the mobile 30 sent to the parameters database. In addition, typically regard
 telephone network) asking the mobile station to erase, into its ing to the second and third options to transmit checking data
 internal mobile station database, the checking data associated to the mobile station described in step 408, the stored new
 with the special area that the operator wishes to deactivate.      checking data may be sent by the mobile station to the param
    In another embodiment, the deactivation signal just blocks eters database through the mobile telephone network. In step
 into the mobile station the use of the special area checking 35 456, the special operating means wait for the confirmation of
 data but does not erase it. The result is the same: the deacti     modification of checking data from the mobile station. Once
 Vation signal avoids the mobile station recognising the special the confirmation of modification is received, this fact is stored
 area(s) associated with this deactivation signal.                  into the parameters database and the special operating means
    The transmission of the deactivation signal may be done transmit an acknowledgment to the mobile station. In case the
 notably as in the first and third options for transmitting the 40 mobile station does not receive the acknowledgment after a
 checking data (as seen in description of step 408).                certain time, the mobile station sends the information again
    Once the deactivation signal has been Successfully until it receives the acknowledgment or, in another embodi
 received and processed by the mobile station, a confirmation ment, until it resents the information up to a maximum num
 of deactivation is sent to the parameters database. In step 436, ber of times.
 the special operating means wait for the confirmation of deac 45 If the confirmation of modification of checking data is not
 tivation from the mobile station. Once the confirmation of         received (possibility 458) by the special operating means, the
 deactivation is received by the special operating means (pos special operating means send again the new checking data to
 sibility 440), this fact is stored into the parameters database the mobile station (step 454).
 and the special operating means transmit an acknowledgment            When the confirmation of modification sent from the
 to the mobile station. In case the mobile station does not 50 mobile station is received by the special operating means
 receive the acknowledgment after a certain time, the mobile (possibility 460), the special operating means know that in
 station sends the confirmation of deactivation again until it step 416, the mobile station updated its internal checking data
 receives the acknowledgment or, in another embodiment, database and the internal mobile station database is in accor
 until it resents the confirmation of deactivation up to a maxi dance with the operator wishes.
 mum number of times.                                            55    The second part of this embodiment of a method according
    If the confirmation of deactivation is not received (possi to the invention is illustrated in FIG. 5 and includes the steps
 bility 438) by the special operating means, the special oper       needed for the mobile station to monitor its location in the
 ating means transmit again a deactivation signal to the mobile special areas using the checking data that were transmitted
 station (step 434).                                                into it.
    When the confirmation from the mobile station regarding 60 In step 500, a mobile station is switched on. In an embodi
 the Successful reception and process of the deactivation signal ment, the mobile telephone network sets the values of the
 is received (possibility 440) by the operating means, the oper operating parameters managed in the parameters database to
 ating means know in step 416 that the mobile station updated a set of initial values when the mobile station is switched off
 its internal checking data database and the internal mobile (as at that time it is not present in any special area) in order to
 station database is in accordance with the operator wishes. 65 start operating the mobile station when it is just Switched on.
    In another hand, in this embodiment of a method according In step 510, the mobile station observes, through the appro
 to the invention, the operator can modify a special area fol priate channel(s), any signal received and process it to deter
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 mine whether or not it is receiving any defining signal from                 to this special area was received at that time then the
 radio communication defining devices (e.g. from the base                     mobile station interprets that it has recently entered into
 stations of a mobile telephone network or from wireless                      this special area.
 devices).                                                                 If the next processing of the defining signals received deter
    In one embodiment, the defining signal is coded (or part of 5             mines that at least one distinctive defining signal asso
 the data contained in Such a defining signal). In this embodi                ciated to this special area is still being received then the
 ment, the mobile station is able to decode the information as                mobile station interprets that it remains located into this
 part of the processing of the defining signals received.                     special area;
    A radio defining signal from a radio communication defin               If the mobile station processing of the defining signals
                                                                              received in a certain moment determines that no distinc
 ing device may be transmitted on a continuous or periodical 10               tive defining signal associated to this special area is
 basis. The mobile station observation as to whether or not it is
                                                                              received:
 receiving any defining signal can be continuous or periodical.             If the previous processing of the defining signals received
 In step 512, the mobile station decide if it receives a defining              determined that at least one distinctive defining signal
 signal (possibility 516) or not (possibility 514) after observ 15             associated to this special area was received at that time
 ing and processing any signal received.                                       then the mobile station interprets that it has recently left
    When one or several defining signals are received, they are                this special area.
 processed in step 518 by the mobile station notably in order to            If the next processing of the defining signals received deter
 compare, in this embodiment, the appropriate part of their                    mines that no distinctive defining signal associated to
 content with any checking data stored in the internal mobile                  this special area is still being received then the mobile
 station database.                                                             station interprets that it remains out of this special area.
    When a defining signal received is from a wireless device               For a special area defined by the intersection of the cover
 (transmitted in a frequency range outside the frequency range age of several distinctive defining signals a procedure equiva
 allocated for the mobile telephone network), the mobile sta lent to the one above can be easily inferred by analogy.
 tion preferably also search in step 518 whether or not the 25 The updating signal may be sent through a diversity of
 defining signal received contains reliable information con channels provided by the mobile telephone network. For
 firming (or not) that the wireless device is effectively located example, in a GSM mobile network, the updating signals can
 into a predetermined environment defined by the operator of be sent using the USSD (Unstructured Supplementary Ser
 the mobile telephone network.                                           vice Data, GSM standards) channel. The data comprised into
    Then, in step 520, depending on the result of the internal 30 the updating signal will typically be coded by the mobile
 process carried out in step 518, the mobile station decides station and decoded by the special operating means of the
 whether (possibility 524) or not (possibility 522) the defining Sever.
 signal received is a distinctive defining signal that defines a            In this embodiment, the updating signals are sent from the
 special area for this mobile station, therefore validating or not mobile station to the special operating means of the mobile
 the defining signal received as a distinctive defining signal. 35 telephone network requesting an acknowledgement from the
    If the special area is defined by the sum of the coverage of special operating means.
 several distinctive defining signals, the mobile station has to            In step 530, the mobile station search for the acknowledg
 recognize at least one of the three distinctive defining signals ment from the special operating means.
 at one time in order to determine that it is into this special area.       If the acknowledgement is not received in the mobile sta
    In another example, the mobile station knows that it is into 40 tion (possibility 532) because the updating signal does not
 a special area defined as the intersection of the coverage of reach the special operating means or the mobile station
 several distinctive defining signals when it is observing and detects a failure in the transmission of the updating signal or
 recognizing at one time all these distinctive defining signals. there is a failure in the transmission of the acknowledgment,
    The mobile station may be prepared to display a text or an then the mobile station may send the updating signal again up
 icon (e.g. home or airport icon) when the mobile station 45 to a predetermined number of times according to a predefined
 determines that it is included in a particular special area for retransmissions policy.
 this mobile station.                                                       When the acknowledgment is received (possibility 531)
    In step 526, the mobile station sends and updating signal to into the mobile station, the mobile station knows in step 534
 the mobile telephone network about its presence in the special that the special operating means will make the appropriate
 aca.                                                                 50 adaptations in the operating parameters of the special areas
    In particular embodiment, the mobile station sends peri database.
 odically (for example every 30 seconds) an updating signal                 More generally, the special operating means area waiting
 about its presence into a special area, such updating signal for any updating signal from any mobile station whose iden
 comprising the result of the last determination performed by tification code is into the parameters database. When the
 the mobile station about its presence into the special area. 55 special operating means receive an updating signal from a
    In another particular embodiment the mobile station only mobile station, they then adapt the operational parameters of
 sends to the mobile telephone network an updating signal the special areas database that depend on the presence of this
 about its presence into a special area when it enters into or exit mobile station m a special area associated with this mobile
 from Such special area.                                                 station and send the acknowledgement.
    For a special area defined by the sum of the coverage of 60 In one embodiment, the updating signal contains a request
 several distinctive defining signals:                                   to access to services and/or to download contents provided
    If the mobile station processing of the defining signals direct or indirectly by the mobile telephone network of the
 received in a certain moment determines that at least one               operator. Then, an access or downloading right is granted or
 distinctive defining signal associated to this special area is denied by the mobile telephone network depending on the
 received:                                                            65 presence of the mobile station in a special area.
    If the previous processing of the defining signals received             The acknowledgment signals of the updating signal from
       determined that no distinctive defining signal associated the special operating means are preferably coded. In that case,
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 the mobile station processing means are able to decode the             a checking   data 650  comprised   into the distinctive defining
 acknowledgments of the updating signals.                            signal of a first base station BS1 (e.g. the identification code
    The operator of the mobile telephone network has there of BS1), such distinctive defining signal defines the special
 fore a guarantee that the mobile telephone network will know area SA1606,
 at least a change on the presence of the mobile station in one         a checking data 652 comprised into the distinctive defining
 or more special areas even if the radio communication link          signal  of a second base station BS2 (e.g. the identification
 between the mobile station and the mobile telephone network code of BS1), such distinctive defining signal also defines the
 is temporarily unavailable.                                         special area SA1606, and a checking data 654 comprised into
    In a particular embodiment the mobile telephone network 10 the distinctive defining signal of a wireless device WD1 (e.g.
 may enable or disable to the mobile station to use predeter the          identification data of WD1), such distinctive defining
 mined services depending on the presence of the mobile for the also signal       defines the special area SA1606,
                                                                             special area SA1. The mobile station determines that it
 station into a special area.
    As an example, the mobile station may incorporate special isleast   located into the special area SA1 606 when it receives at
                                                                           one of the three identifiers 650, 652, 654 comprised into
 checking Software able to generate statistics about the use of 15 the distinctive defining signals coming from BS1, BS2 and
 the mobile telephone (phone calls, messages, etc.) into spe WD1, i.e. when it is located within the range of coverage of
 cial areas. This software may be enabled for operation by the any of the three distinctive defining signals (according to one
 mobile telephone network when the mobile station enters into of the embodiments of the invention, in the case of the defin
 a predetermined special area and disabled when the mobile ing signal of WD1, in order to consider that such defining
 station exits such special area.                                    signal is a distinctive defining signal, it will additionally be
    As another example, the mobile telephone network may necessary that the reliable information comprised into the
 broadcast certain messages associated to a special area (e.g. defining signal confirms that WD1 is effectively located into
 airport information). The mobile station can be enabled by the a predetermined environment).
 mobile telephone network to accept and display those broad             In this example, the value of column 611/606 for the
 casted messages when it is located within this special area and 25 mobile station MS(i) and for the special area 606 is enabled
 disabled when it exits the special area.                            (-i-) or disabled (-) at a given time depending on whether
    The third part of this embodiment of a method according to or not the mobile telephone network receives a confirmation
 the invention is illustrated in FIGS. 6 and 7 and includes the      of new checking data (see description of FIG. 4) from this
 adaptation of the operational parameters to the presence of 30 mobile station confirming that all the checking data corre
 the mobile station in any special area where this mobile mobile     sponding with the special area has been stored into this
 station is monitoring its presence.                                          station (based on the same principle, it would also be
    When the mobile telephone network receives an updating monitor totheaddreception
                                                                     possible          another column in the parameters database to
                                                                                                of confirmations of deactivation of
 signal, the special operating means of the server adjust the checking data and another             one to monitor the reception of
 value of at least one operating parameter of a parameters 35 confirmations of modification             of checking data for a given
 database linking the special area and the mobile station. The special area 32: see description of FIG. 4).
 value of the operating parameter(s) depends on the informa             In this example, the value of column 611/606 for MS(i) is
 tion contained into the updating signal about the presence of enabled (+) for the special area SA1606. In another example,
 the mobile station into the special area.                           the value of column 611/606 for the mobile station MS (i) and
    In a particular example, operating parameters related to a 40 for the special area 606 contains a set of values enabled (+) or
 special tariff and some services are enabled or remains disabled (-), one for each checking data.
 enabled into the referred parameters database when the infor           The column 612/606 corresponding to the operating
 mation contained into the updating signal indicates that the parameter “Mobile Station Control Flag” is enabled (+) or
 mobile station has recently entered or remains located into the disabled (-) at a given time for the mobile station MS (i) and
 special area. In the same example, the special tariff and the 45 for the special area SA1 606 depending on the information
 services are disabled or remains disabled into the referred         comprised into the updating signals received about the pres
 parameters database when the information contained into the ence of the mobile station into the special area 606. In this
 updating signal indicates that the mobile station recently left example, at a given time, the mobile station MS(i) is Supposed
 or remains out of the special area.                                 to be in SA1606 as the operating parameter “Mobile Station
                                                                  50 Control Flag 612/606 is enabled (+1).
    More precisely, FIG. 6 is a schematic illustration of an
 example of a part of the parameters database 600 of operating          When the “Mobile Station Control Flag” is enabled (+) at
 parameters included in the special operating means according        a given  time for the mobile station MS(i) and for the special
                                                                     area  606,
 to an embodiment of the invention. The illustrated part of the may be availablecertaintariffs or services related to such special area
 special operating means database 600 links two special areas 55 on the value (+) or     for the user of the mobile station depending
 SA1 606 and SA2 608 with 3 mobile stations identification                                 (-) of the corresponding tariff or service
                                                                     flags for Such mobile station and special area into the operat
 codes MS(i-1), MS(i) and MS(I+1), each of which having an ing parameters database. In this example, at a given time, in
 entry 603, 604 and 605.                                             the column Tariff identifier 614/606, the parameter is then
    The column 602 of the database comprises the mobile set at XXX and in the column 616/606, the Tariff Flag is
 stations identification codes. A mobile station identification 60 enabled (+). In the column 618/606, the Service identifier
 code refers to a code that is associated with the subscription of parameter is then set at YYY and in the column 620/606, the
 the mobile station user into the mobile telephone network. As        Service Flag of said service YYY is enabled (+). In the
 an example, in a GSM network the referred mobile station column 622/606, the Service identifier parameter is set at
 identification code may be the MSISDN.                              2ZZ and in the column 624/606, the Service Flag of said
    In this example, the set of checking data of mobile “station 65 service ZZZ is disabled (-) because service ZZZ is dis
 MS(i) for the special area SA1606, defined in the column abled at that time for the mobile station MS(i) and the special
 610/606 of the entry 604 contains:                                  area SA1. 606.
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    The set of columns 610/608 to 624/608 provides the same             Although the present invention has been described in detail
 kind of information for the special area SA2 608. The set of for purpose of illustration, it is understood that such detail is
 checking data of mobile station MS(i) (column 610/608) solely for that purpose, and variations can be made therein by
 refers to wireless devices WD1 with the checking data 656, those skilled in the art without departing from the scope of the
 WD2 with the checking data 658 and WD3 with the checking invention. Thus, while the preferred embodiments of the
 data 660 for the special area SA2 608. In this special area, at method and of the mobile system have been described in
 that time, the value of column 611/608 for MS(i) is disabled reference to the environment in which they were developed,
 (-), the operating parameter “Mobile Station Control Flag” they are merely illustrative of the principles of the invention.
 (column 612/608) is disabled (-). Tariff PPP (column 10 Other       out
                                                                            embodiments and configurations may be devised with
                                                                          departing  from the scope of the appended claims.
 614/608) is enabled (+ in column 616/608), service QQQ
 (column 6)8/608) is enabled (+ in column 620/608) and describe with referencetheto the
                                                                        Further,   although       embodiments of the invention
                                                                                                       drawings comprise computer
 service RRR (column 622/608) is enabled (+ in column apparatus and processes performed in computer apparatus,
 624/608). The tariff PPP and the services QQQ and RRR are the invention also extends to computer programs, particularly
 associated to mobile station MS(i) when it is in the special 15 computer programs on or in a carrier, adapted for putting the
 area SA2 608.                                                       invention into practice. The program may be in the form of
    In another embodiment of the invention, the special oper Source code, object code, a code intermediate source and
 ating means are distributed into different servers of the object code Such as in partially compiled form, or in any other
 mobile telephone network or of service providers associated form suitable for use in the implementation of the processes
 with the mobile telephone network and an updating signal according to the invention. The carrier may be any entity or
 may be sent to any of those servers.                                device capable of carrying the program. For example, the
    In a particular example of this embodiment, there will be a carrier may comprise storage medium, Such as a ROM, for
 server containing a part of the special operating means that example a CD ROM or a semiconductor ROM, or a magnetic
 stores a pargmeters database (e.g. the database illustrated in recording medium, for example a floppy disc or hard disk.
 FIG. 6) of operating parameters containing the special areas 25 Further, the carrier may be a transmissible carrier Such as an
 checking data. In this example part of the updating signals electrical or optical signal which may be conveyed via elec
 from the mobile stations may be sent to this server of the trical or optical cable or by radio or other means. When the
 mobile telephone network and processed by the part of the program is embodied in a signal which may be conveyed
 special operating means that this server contains.                  directly by a cable or other device or means, the carrier may
    In this example there will be at least another server, called 30 be constituted by such cable or other device or means. Alter
 switch server, into the mobile telephone network or associ natively, the carrier may be an integrated circuit in which the
 ated to it, server that is including another part of the special program is embedded, the integrated circuit being adapted for
 operating means that include another parameters database of performing, or for use in the performance of the relevant
 operating parameters, called Switch parameters database, that processes.
 does not contain checking data. The part of special operating 35 The invention claimed is:
 means included in this other server allows or forbids the              1. A method associated with a provider of presence related
 provision of some multimedia contents and applications services in connection with the use of a mobile station and at
 available to mobile stations (and may preferably provide least a first radio communication defining device that trans
 them itself) depending on the presence, in any special area mits a first distinctive defining signal, the first distinctive
 registered in this Switch parameters database, of any mobile 40 defining signal at least partly defines a first special area by its
 station associated with this special area in this Switch param coverage, the method comprising:
 eters database.                                                        electronically storing in one or more memories data
    FIG. 7 illustrates an example of part of a switch parameters           capable of linking the mobile station to the first special
 database 700 where 702, 703,704, 705, 706, 708, 712/706                   area, the data including a checking data of the first radio
 and 712/708 have the same meaning than respectively 602, 45               communication defining device and a first identifier
 603, 604, 605, 606, 608, 612/606 and 612/608 of FIG. 6. The               related to the mobile station,
 contents and applications AAA are available to the mobile              transmitting via a mobile telephone network to the mobile
 station MS(i) when it is into the special area SA1706. The                station at least a portion of the checking data,
 contents and applications BBB are available to the mobile              receiving from the mobile station via the mobile telephone
 station MS(i) when it is into the special area SA2 708.        50         network an updating signal uncorrelated to any mobile
    In the example of FIG. 7, the part of the special operating            station phone call establishment that identifies the
 means included into the switch server receives, embedded                  mobile station’s presence in at least the first special area,
 into an updating signal from MS(i), a request to download a              the updating signal including a second identifier related
 content oran application AAA, and the downloading right is             to the mobile station,
 granted because such updating signal from MS(i) also indi 55 deriving from the updating signal by one or more process
 cates (value + in column 712/706) that it is located in the            ing devices having access to at least a portion of the data
 special area 706 at that time.                                         whether or not the mobile station is present in the first
    In the same manner, in the example of FIG. 7, the part of           special area; and
 the special operating means included into the Switch server         enabling or disabling by use of the one or more processing
 receives, embedded into an updating signal from MS(i), a 60            devices a presence related service based upon the mobile
 request to download a content or an application BBB, but               station’s presence or non-presence in the first special
 the downloading right is not granted because such updating             aca.
 signal from MS(i) also indicates (value in column 712/708)          2. The method according to claim 1, wherein the one or
 that it is not located in the special area 708 at that time.      more processing devices has access to at least a portion of the
    In some cases the switch server is entirely property of the 65 data and updates at least one operating parameter in a data
 mobile telephone network operator while in some others base of the provider of presence related services depending on
 there is an agreement in place with a third party.                the presence of the mobile station in the first special area.
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    3. The method according to claim 2, wherein the operating        8. The method according to claim 1, wherein the mobile
 parameter is a tariff flag or a service flag that enables or      telephone network is cellular.
 disables a special tariff or a service for the mobile station.      9. The method according to claim 1, wherein the updating
    4. The method according to claim 1, wherein the first and      signal comprises the result of a previous determination per
 second identifiers related to the mobile station are the same. 5 formed by the mobile station about the mobile station’s pres
    5. The method according to claim 1, wherein the enabling ence in the first special area.
 or disabling of the presence related service includes transmit       10. The method according to claim 1, wherein the updating
 ting via the mobile telephone network a signal to the mobile      signal is received via the mobile telephone network from the
 station that is capable of being used to enable or disable one 10 recent tostation
                                                                   mobile           at least one of (i) periodically, (ii) at times
                                                                             when the mobile station enters into or exists from the
 or more related functions in the mobile station.
    6. The method according to claim 1, wherein the one or firstfirst   special area, and (iii) when the mobile station remains in
 more memories and the one or more processing devices reside the11.         special area.
 in one or more servers of the provider of presence related signalThe          method according to claim 1, wherein the updating
 services and/or in one or more servers of the mobile telephone 15 multimedia contenta and
                                                                           comprises      request to access to a service or to a
                                                                                              the provider of presence related Ser
 network.
    7. The method according to claim 1, wherein the storing of     vices enables  or disables  the provision of the service or mul
 the checking data in the one or more memories comprises timedia content depending on the presence of the mobile
 electronically receiving from the mobile station the checking station in the first special area.
 data.                                                                                     k   k   k   k   k
